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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

SHILLING, et al., Case No. 2:25-cv-241
Plaintiffs,
Vv. SUPPLEMENTAL DECLARATION
OF VIDEL LEINS

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

Defendants.

I, Videl Leins, declare as follows:

1. I write this declaration to supplement the declaration I signed on February 15,
2025, and submitted in support of the Motion for Preliminary Injunction in this matter on
February 19, 2025. See ECF No. 31-28.

2. On March 12, 2025, I was placed on involuntary administrative absence by my
command (Exh. A) who informed me that my Exception to Policy (ETP) memos have been
rescinded and that I am required to attend the Transition Assistance Program (TAP) course,
which is designed to prepare service members for civilian life.

3. I am currently eligible to test for promotion on March 20, 2025 but in order to
take the Weighted Airman Promotion System (WAPs) test, I am required to dress in uniform.

Service members placed on administrative absence are not allowed to wear uniform, so Iam

DECLARATION OF VIDEL LEINS IN ‘ i Lambda Legal Defense and uman Righis
Perkins Coie LLP Education Fund, Inc Campaign Foundation
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SUPPORT OF PLAINTIFFS MOTION 1201 Third Avenue, Suite 4900 120 Wall Street, 19th Floor 1640 Rhode Island Ave NW

FOR PRELIMINARY INJUNCTION - 1 Seattle, Washington 98101-3099 - :
Phone: 206.359.8000 New York, NY. 10005-3919 Washington, D.C. 20036

[2:25-cv-00241-BHS] Fax: 206.359.9000 Telephone: 212.809.8585 Phone: 202.527.3669

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uncertain if I will be able to test as planned.

4. Being placed on administrative absence has significantly impacted my career
progression by stripping away crucial opportunities for professional growth and advancement.

5. As a result, I’m unable to submit my package for the Airman Leadership School
(ALS) instructor position, a role that would have strengthened my leadership experience and
broadened my career prospects.

6. I have also been removed from USAF Rapid Damage Repair (RDR) training, also
known as Rapid Airfield Damage Recovery (RADR) that I was scheduled to attend at the end of
this month. In recent years, this training has been a key priority, emphasizing the importance of
highly skilled Airmen who can effectively repair, restore, and secure airfields.

7. Additionally, the administrative absence has made me ineligible for award
packages that would have highlighted my contributions and set me apart among my peers.

8. Perhaps most damaging, it will have lasting effects on my Enlisted Performance
Brief (EPB), which directly influences my future promotion cycles.

9. Without these key accomplishments reflected in my records, my ability to
compete for advancement has been unfairly diminished.

10. [Tam required to comply with all standards applicable to service members
identified "M" gender marker in the Defense Enrollment Eligibility Reporting System (DEERS).
I have been on hormone replacement therapy (HRT) for nearly a year (11 months), and without
an Exception to Policy (ETP), I now have a sudden disadvantage in the requirement to meet male
fitness standards and am under undue stress because of the expectation to follow male grooming

standards.

I declare under the penalty of perjury that the foregoing is true and correct.

Videl Loin
DATED: March 18, 2025 he
Videl Leins
DECLARATION OF VIDEL LEINS IN Perkins Coie LLP Lambda Legal Defense and Human Rights
SUPPORT OF PLAINTIFFS’ MOTION 1201 Third A Suite 4900 Education Fund, Inc. Campaign Foundation
Seattle. Washineton 98101.3099 __120 Wall Street, 19th Floor 1640 Rhode Island Ave NW
FOR PRELIMINARY INJUNCTION - 2 ° 8 New York, NY. 10005-3919 Washington, D.C. 20036

[2:25-cv-00241-BHS] aoe so oot. Telephone: 212.809.8585 Phone: 202.527.3669

